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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                RESPONDENT

v.                                   Case No. 4:11-cr-40037-020

ALVIN WEEKLY                                                                              PETITIONER
                                             JUDGMENT

        Before the Court is a motion for a certificate of appealability filed by Petitioner Alvin

Weekly. (ECF No. 1522). After careful consideration, the Court concludes that the motion should

be denied.

        On April 30, 2015, the Court dismissed Weekly’s § 2255 petition. (ECF No. 1518).

Weekley filed a notice of appeal (ECF No. 1521) on May 8, 2015. Weekly cannot appeal the

dismissal of his habeas petition unless a circuit or district judge issues a certificate of appealability,

and a certificate of appealability will issue only when a petitioner makes a substantial showing of

the denial of a constitutional right. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473,

484 (2000). A “substantial showing of the denial of a constitutional right” requires a demonstration

“that reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were ‘adequate to deserve

encouragement to proceed further.’” Slack, 529 U.S. at 484 (quoting Barefoot v. Estelle, 463 U.S.

880, 893 n.4 (1989)).

        For the reasons stated in the recommended disposition adopted by the Court and the

judgment adopting those recommendations (ECF Nos. 1336 & 1518), the Court finds that jurists of

reason would not find it debatable that the petition should have been resolved in a different manner



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or that the issues presented were adequate to deserve encouragement to proceed further.

       Accordingly, Weekly’s motion for a certificate of appealability is DENIED.

       IT IS SO ORDERED, this 27th day of May, 2015.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           United States District Judge




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